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 4                            UNITED STATES DISTRICT COURT
 5                           EASTERN DISTRICT OF CALIFORNIA
 6

 7   UNITED STATES OF AMERICA,                  No. 2:99-cr-00051-GEB-1
 8                    Plaintiff,
 9           v.                                 ORDER DENYING DEFENDANT’S
                                                MOTIONS FOR REDUCTION OF
10   REVERIANO OLIVERA,                         SENTENCE
11                    Defendant.
12

13                On December 18, 2014, January 5, 2015, and August 21,

14   2015, Defendant Reveriano Olivera filed, in pro per, motions for

15   “a    reduction    of   his   term    of   imprisonment    under     18   U.S.C.   '

16   3582(c)(2)[,]” arguing “the recent amendment to Section 2D1.1 of

17   the     United    States   Sentencing      Guidelines[,]    .    .    .   Amendment

18   7821, . . . qualifies         [him]    for     a   reduction.”       (Def.’s   Mot.

19   Reduction Sentence 1, ECF No. 363; see also ECF Nos. 364, 368.)

20                The government opposes Defendant’s motions, rejoining:

21                [D]efendant does not qualify for a sentence
                  reduction. To be eligible for a sentence
22                reduction under 18 U.S.C. § 3582(c)(2),
                  [D]efendant must show that his sentence was
23                “based on a sentencing range that has
                  subsequently been lowered by the Sentencing
24                Commission” and (2) “such a reduction is
                  consistent with applicable policy statements
25
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           “Amendment 782, which revised the Drug Quantity Table in U.S.S.G. §
26   2D1.1 and reduced by two levels the [base] offense level applicable to many
     drug offenses, became effective on November 1, 2014. Moreover, the Sentencing
27   Commission voted to make Amendment 782 retroactively applicable to previously-
     sentenced defendants.” United States v. Viengkham, No. 1:11-cr-00052-MCE-4,
28   2015 WL 273314, at *1 (E.D. Cal. Jan. 21, 2015).
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 1             issued by the Sentencing Commission.” United
               States v. Wesson, 583 F.3d 728, 730 (9th Cir.
 2             2009) (quoting 18 U.S.C. § 3582(c)(2)).
 3                   . . . .
 4                  . . . According to the Judgment and
               Commitment Order in this case, the Court
 5             found an Offense Level of 42, Criminal
               History Category I, and resulting guideline
 6             range of life in prison. Docket No. 238; J&C
               Order, at 2. This Offense Level is consistent
 7             with   the   PSR’s   calculation   that   the
               defendant’s Base Offense Level is 38 because
 8             he is responsible for 24.896 kilograms of
               methamphetamine   (actual).  PSR   ¶¶   26-27
 9             (finding total of 24.896 kilograms, of
               methamphetamine (actual) attributable to the
10             defendant).
11                   . . . .
12                  Under the current version of § 2D1.1,
               24.896 kilograms of methamphetamine (actual)
13             still results in an Offense Level of 38.
               U.S.S.G. § 2D1.1(c)(1) (setting Base Offense
14             Level of 38 for offense involving drug
               quantity   more     than    4.5   kilograms     of
15             methamphetamine      (actual)).     Thus,      the
               [D]efendant’s     base    offense      level    is
16             unaffected     by      Amendment      782     and,
               consequently, his guideline range of life in
17             prison on Counts 1 and 4 remains the same
               today as at it was during his original
18             sentencing. Similarly, Amendment 782 did not
               alter the specific offense characteristic
19             enhancements attributable to this defendant
               for his crimes. Specifically, his guideline
20             range today still would include a 2-level
               increase in Offense Level because the crimes
21             of conviction involved the contamination of a
               location from methamphetamine manufacturing
22             and a 4-level increase in Offense Level for
               leadership still apply to this defendant. PSR
23             ¶¶ 29, 30-34. Stated another way, under §
               1B1.10, the [D]efendant is ineligible for
24             relief because Amendment 782 did not have the
               effect   of    lowering      the   [D]efendant’s
25             applicable   guideline     range.   Accordingly,
               [D]efendant’s    motions      for   a     sentence
26             reduction should be denied because he is not
               eligible for relief.
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28   (Gov’t Opp’n 3:9-4:22, ECF No. 370 (citation omitted).)
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 1                 “As a general matter, courts may not alter a term of
 2   imprisonment once it has been imposed.” United States v. Leniear,
 3   574    F.3d   668,   673   (9th   Cir.    2009)   (internal        quotation    marks
 4   omitted) (quoting United States v. Hicks, 472 F.3d 1167, 1169 (9th
 5   Cir. 2007)).
 6                 However, 18 U.S.C. § 3582(c)(2) creates an
                   exception    to  this    rule   by   allowing
 7                 modification of a term of imprisonment if:
                   (1) the sentence is “based on a sentencing
 8                 range that has subsequently been lowered by
                   the Sentencing Commission”; and (2) “such a
 9                 reduction   is  consistent   with  applicable
                   policy statements issued by the Sentencing
10                 Commission.”
11   Id. (quoting 18 U.S.C. § 3582(c)(2)).
12                 The Sentencing Commission policy statement relevant to
13   this case prescribes: “[a] reduction in the defendant’s term of
14   imprisonment is not consistent with this policy statement and
15   therefore is not authorized under 18 U.S.C. 3582(c)(2) if . . .
16   [the   relevant]     amendment    .   .   .    does   not   have    the   effect   of
17   lowering the defendant’s applicable guideline range.” U.S.S.G. '
18   1B1.10(a)(2).
19                 Here, “[Amendment 782] does not result in a different
20   sentencing range, [therefore D]efendant is not eligible for a
21   sentencing     reduction    pursuant      to    Section     3582(c)(2).”       United
22   States v. Gonzalez, No. 1:94-CR-5011 LJO, 2015 WL 854206, at *1
23   (E.D. Cal. Feb. 26, 2015). Accordingly, Defendant’s motions for a
24   sentencing reduction, (ECF Nos. 363, 364, 368), are DENIED.
25   Dated:    September 30, 2015
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